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 1
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 3
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 5   Email: stanielslaw@dcn.org
 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,             ) NO. 2:12-cr-364 GEB
                                           )
10                                         )
             Plaintiff,                    )
11                                         )
                                           ) STIPULATION AND [PROPOSED]
12                 v.                      ) ORDER CONTINUING STATUS
                                           ) CONFERENCE
13                                         )
     SIMEON GREGORY,                       )
14   TERRANCE RYCHAN SMALLS,               )
                                           )
15                                         )
              Defendants.                  ) Date: October 25, 2013
16                                         ) Time: 9:00 a.m.
                                           ) Judge: Hon. Garland E. Burrell, Jr.
17                                         )
18

19
           IT IS HEREBY STIPULATED by and between Assistant United
20

21   States Attorney Jared Dolan, counsel for Plaintiff, and Jeffrey L. Staniels,
22
     court appointed attorney for Defendant Simeon Gregory and Steven B.
23

24   Plesser, Attorney for Terrance Smalls, that the above case be vacated from
25
     this court’s October 25, 2013, calendar, and that it be continued until
26

27
     December 13, 2013, at 9:00 a.m. for status conference.

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 1
           The court is advised that this additional time will be utilized to permit
 2
     completion of discussions by counsel with the government and with their
 3

 4   respective clients concerning possible non-trial resolution of this case.
 5
     Counsel are optimistic that such resolution can be reached in the time
 6

 7   requested.
 8
           The court is requested to find that this continuance is reasonable, that
 9

10
     the interests of justice served by granting it outweigh the interests of the

11   defendants and of the public in a speedy trial, and that time for trial under
12
     the Speedy Trial Act be excluded pursuant to 18 U.S.C. § 3161(h)(7)(b)(iv),
13

14   Local Code T-4.
15
           IT IS SO STIPULATED.
16

17

18
     Date: October 24, 2013                     /s/ Jared Dolan
19                                              Jared Dolan
                                                Assistant U.S. Attorney
20
                                                Counsel for Plaintiff
21

22
     Date: October 24, 2013                      s/ Jeffrey L. Staniels
                                                 Jeffrey L. Staniels
23
                                                 Counsel for Defendant
24                                               Michael A. Hernandez
25
     Dated: October 24, 2013                    /S/ Steven B. Plesser
26                                              Steven B. Plesser
27
                                                Attorney for Defendant
                                                TERRANCE RYCHAN SMALLS
28
            Case 2:12-cr-00364-GEB Document 94 Filed 10/28/13 Page 3 of 3


 1
                                      ORDER
 2

 3
          The Court finds that the interests of justice served by granting the
 4
     attached request for a continuance outweigh the interest of the defendants
 5

 6   and the public in a speedy trial. The request for a continuance is therefore
 7
     granted. Time for trial under the Speedy Trial Act is hereby excluded
 8

 9   between October 25, 2013, and December 13, 2013 pursuant to 18 U.S.C.
10
     § 3161(h)(7)(b)(iv), Local Code T-4.
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12
          It is so ordered.

13                                By the Court,
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     Dated: October 25, 2013
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